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 7                         UNITED STATES DISTRICT COURT

 8                        EASTERN DISTRICT OF CALIFORNIA

 9

10   CHERYL PIERCE                 )            CASE NO. 1:12-cv-920-SKO
                                   )
11
               Plaintiff           )            ORDER AWARDING
12                                 )            ATTORNEY FEES UNDER EAJA
     VS.                           )
13                                 )            (Docket No. 23)
     CAROLYN W. COLVIN, Acting     )
14
     Commissioner of Social        )
15   Security                      )
                                   )
16             Defendant           )
     ______________________________)
17

18
            On December 23, 2013, the parties submitted a Stipulation
19
     for    Award   and   Payment    of   Attorney's     Fees    ("Stipulation")
20
     pursuant to the Equal Access to Justice Act ("EAJA").                   (Doc.
21
     23.)    Based on the parties' Stipulation, IT IS HEREBY ORDERED
22
     that Plaintiff shall be awarded attorney's fees in the amount of
23
     $4,000.00 subject to the terms of the Stipulation.
24

25   IT IS SO ORDERED.

26     Dated:   January 2, 2014                      /s/ Sheila K. Oberto
27                                             UNITED STATES MAGISTRATE JUDGE

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